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10   the public similarly situated
11
                              UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13                                 WESTERN DIVISION
14                                                 Case No.: 2:13-cv-04222-FMO(AGRx)
15   RUSSELL MINORU ONO, individually,             CLASS ACTION
     and on behalf of other members of the
16   general public similarly situated,            PLAINTIFF’S SUPPLEMENTAL
17                                                 BRIEF IN SUPPORT OF MOTION FOR
                Plaintiff,                         CLASS CERTIFICATION
18
19        vs.                                      District Judge: Hon. Fernando M. Olguin
                                                   Magistrate: Hon. Alicia G. Rosenberg
20   HEAD RACQUET SPORTS USA, a
21   corporation organized and existing under    Date: August 13, 2015
     the laws of the State of Delaware, and      Time: 10:00 a.m.
22   HEAD USA, INC., a corporation organized Location: Courtroom 22 – 5th Floor
23   and existing under the laws of the State of           312 North Spring Street
     Delaware,                                             Los Angeles, CA 90012-4701
24
25              Defendants.                        Action Filed: June 12, 2013
26
27                    PUBLIC VERSION – CONTAINS REDACTIONS
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                                                                  Case No.: 2:13-cv-04222-FMO(AGRx)
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 1   I.    INTRODUCTION
 2         The undisputable fact in this case is that for at least twenty five years, Defendants
 3   Head Racquet Sports USA and Head USA, Inc. (“Head”) lied to consumers. Head does
 4   not, and cannot, deny this fact --
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 7                                                         Instead, Head now contends that
 8   consumers either were not aware of its lies, or, if they were, they did not care. But, neither
 9   the evidence, nor common sense supports Head’s position.
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12                                          Similarly, Head cannot explain why it paints custom
13   racquets used by Head’s Paid Professionals to look like the latest off-the-shelf Tour Line
14   Racquets. If Head’s player-centric campaign and racquet painting were not effective in
15   generating sales, why would Head go to such great lengths to deceive customers?
16         Because Head cannot answer these questions, Head hopes to skirt liability by
17   defeating class certification. However, in opposing certification, Head proffers irrelevant
18   and misleading surveys, ignores the testimony of its corporate representatives, and
19   disregards numerous damaging internal emails. Head’s litigation-derived attempts to
20   explain away the company’s deceptive message to its target audience are not credible. Try
21   as it might, Head cannot escape the fact that through its player-centric campaign, it
22   consistently communicated to consumers that Head’s Paid Professionals use the Tour Line
23   Racquets, when in fact, they do not.
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26                             In the end, based on the evidence, Head cannot genuinely dispute
27   that class certification is appropriate. Indeed, nothing in Head’s opposition papers suggests
28 otherwise.
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 1   II.     DISCUSSION
             A.  Evidence Indisputably Establishes that Class Members Were Exposed to
 2               Head’s Uniform Player-Centric Message and it Was Material to them
 3               i.   Head’s Conduct Confirms that the Message at Issue Was Material
 4           Using incontrovertible admissions from Head’s President, Head’s marketing
 5   materials, and expert testimony, Plaintiff’s portion of the Joint Brief firmly establishes that
 6   Head communicated a uniform message to consumers linking Head’s Paid Professionals to
 7   the Tour Line Racquets (i.e., the player-centric campaign). (See, e.g., Joint Brief re: Class
 8   Certification (“Joint Brief”) at 2-4.) Head responds by arguing that consumers do not care
 9   if Head’s Paid Professionals use the Tour Line Racquets in competition. (Id. at 41:24-26.)
10   But, Head’s saying so does not make it true -- the evidence shows otherwise.
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13                                                    Head’s argument fails because it misstates
14   Plaintiff’s position and reflects a fundamental misunderstanding of the law. Materiality is
15   established if “‘the maker of the representation knows or has reason to know that its
16   recipient regards or is likely to regard the matter as important in determining his choice of
17   action.’” Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1107 (9th Cir. 2013) (quoting Kwikset
18   Corp. v. Super. Ct., 51 Cal.4th 310, 333 (2011)).1
19
20                                     Under applicable law, if Head believes its message is
21   important to consumers, the message is material. Regardless of the findings of consumer
22   surveys or other circumstantial information created for litigation, common sense dictates
23   that Head has not stayed in business disseminating meaningless messages to consumers.
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         All emphasis added unless otherwise indicated.
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20         Moreover, not only did Head uniformly deceive the public by virtue of these
21   “paintjobs,” but by also falsely claiming the racquets Head’s Paid Professionals “use” have
22   unique characteristics that fit their style of play.
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12                      In short, there is no legitimate reason to paint Head’s Paid Professionals’
13   racquets to look like off-the-shelf Tour Line Racquets and then, falsely claim that the
14   racquet has the characteristics of the linked player. Head only does it because it is a
15   successful technique to reach consumers and increase racquet sales.
16                ii.     Head’s Surveys Fail to Show that the Message Was Not Material
17                        a.   Head’s Biased Litigation Survey Has No Value

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                                                                           Head’s biased survey,
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     however, is so fatally flawed that it is of no value in this litigation, and in asking this Court
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     to rely on it, Head invites the Court to commit judicial error. Specifically, (a) Poret’s
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     survey sampled the wrong universe of consumers; (b) the sample chosen by Poret was not
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     representative of that population; (c) the data Poret gathered was not accurately reported,
25
     and; (d) the questions he asked were unclear and misleading. (PSA at 001222-23
26
     (Declaration of David W. Stewart (“Stewart Decl.”) at ¶¶ 16-18).) Because the results are
27
     unreliable and entirely irrelevant, the Court should give the Poret Survey no weight.
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 1         Critical to the analysis of the Poret survey is the requirement that as discussed in
 2   Plaintiff’s portion of the Joint Brief, “[w]here the advertising or practice is targeted to a
 3   particular group or type of consumers, either more sophisticated or less sophisticated than
 4   the ordinary consumer, the question whether it is misleading to the public will be viewed
 5   from the vantage point of members of the targeted group, not others to whom it is not
 6   primarily directed.” Lavie v. Proctor & Gamble Co., 105 Cal.App.4th 496, 512 (2003).
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21         Moreover, Poret’s survey is irrelevant because he asked respondents the wrong
22   questions.
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13         Finally, as explained by Mr. Sanders, it is well known in the advertising industry
14   that consumer choice surveys like Poret’s survey are unable to adequately capture
15   purchasing rationale. Sanders explained that for some purchases, consumers might base
16   their decision on what their friends will think, but consumers are unlikely to ever admit
17   that on a survey. (PSA at 001159-61 (Sanders Depo. at 98:22-100:18).)
18                      b.     Tennis Industry Surveys Do Not Support Head’s Position
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 3               iii.   Class Members’ Exposure to Head’s Uniform Message Is Obvious
 4         Head also argues that class certification is inappropriate because putative class
 5   members were not exposed to the player-centric message at issue. (Joint Brief at 43-44.)
 6   Again, Head’s argument is belied by common sense and the evidence. As discussed above,
 7   the message must “viewed from the vantage point of members of the targeted group, not
 8   others to whom it is not primarily directed.” Lavie, 105 Cal.App.4th at 512.
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 9         Similarly, Head does not dispute that its press releases falsely claim that Head’s Paid
10   Professionals use Tour Line Racquets in professional play. (See APPX. at 000089-99
11   (exemplar press releases.) Instead, Head argues the releases have “very limited public
12   exposure.” (Joint Brief at 17:15-16.)
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17         Head also relies on an order from Judge Walter denying certification in the Kramer
18   v. Wilson Sporting Goods, Co., et al., Case No. 2:13-cv-06330-JFW(SHx), Dkt. 60 (C.D.
19   Cal. Mar. 21, 2014). However, critical to Judge Walter’s conclusion was his finding that,
20   unlike the facts here, “Wilson conducted a limited and small-scale advertising
21   campaign,” and as a result, there was “no evidence demonstrating” class members’
22   exposure to the deceptive business practices.
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25         Head’s Tour Consumers were exposed to Head’s player-centric campaign through a
26   variety of sources, (1) watching professional tennis either live or on TV; (2) Head’s print
27   advertising; (3) republication of Head’s press releases;
28
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 7         B.       Plaintiff’s Damages Analysis Is Appropriate
 8         Comcast Corp v. Behrend, 133 S.Ct. 1426, 1433 (2013) held that a plaintiff must
 9   present a methodology to calculate damages as a result of the alleged wrong. Here, with
10   the Declaration of Colin B. Weir, Plaintiff indisputably does that. (See APPX. at 000240-
11   250 (Declaration of Colin B. Weir).) Moreover, “it will be enough if the evidence shows
12   the extent of the damages as a matter of just and reasonable inference, although the result
13   be only approximate.” Story Parchment Co. v. Paterson Parchment Paper Co., 282 U.S.
14   555, 563 (1931) (cited by Comcast, 133 S.Ct. at 1433); see also, Vaccarino v. Midland
15   Nat’l Life Ins. Co. , 2014 WL 572365, at *10-13 (C.D. Cal. Feb. 3, 2014) (“Comcast
16   requires that courts determine whether damages are susceptible of classwide measurement,
17   not whether that measurement is precisely correct.”) In this case, Plaintiff contends that
18   Head, through its player-centric campaign, uniformly misrepresented that its Tour Line
19   Racquets were used by Head’s Paid Professionals in competition, when in fact, they were
20   not. Consumers were damaged because but for Head’s misrepresentation, they would not
21   have purchased Tour Line Racquets. Alternatively, consumers are entitled to the benefit of
22   the bargain because they did not receive what Head agreed to provide.3
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     Head’s contention that the benefit-of-the-bargain model is “irrelevant” because common
27 law claims were not pled on behalf of the California class is nonsensical. Plaintiff is a
   member of the Nationwide Class and may amend the Class definition and establish sub-
28
   classes, including limiting nationwide claims to California residents. (See FAC ¶¶ 42-45.)
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 7          In its opposition, Head presents a straw man argument by criticizing a price
 8   premium model which is not part of Weir’s methodology. (See Joint Brief at 48:2-18.)
 9   Additionally, Head relies on the report of W. Todd Schoettelkotte to attack Weir’s report.
10   But, Schoettelkotte’s analysis is based on Poret’s conclusion that a wide variety of factors
11   influence consumer choice. (APPX. at 000680-683 (Schottelkotte Decl. at ¶¶ 11-17) As
12   discussed above, Poret’s survey is fatally flawed. (See PSA at 001070-81 (Stewart Decl.).)
13   Therefore, because Schoettelkotte relies on that data, his report is equally flawed and has
14   no value. Similarly, he relies on the evidentiary record from the Kramer case to make
15   conclusions here, without considering the differences in class definition, the evidence
16   presented, and the factual records. (APPX. at 000684 (Schoettelkotte at ¶ 20) (quoting
17   Kramer to support his opinion).) It makes no difference whether there are numerous
18   material reasons why consumers consider purchasing Tour Line Racquets. What is
19   important is whether consumers would even consider the purchase if they knew Head lied
20   to them about their player idols. For purposes of this Motion, Plaintiff has established that
21   they would not. Moreover, as Weir explains in his Rebuttal Declaration, Schoettelkotte’s
22   opinion is not based on any flaw in the damages models presented by Weir, but rather on
23   an argument that there should not be liability in the first place. (PSA at 001235-42
24   (Rebuttal Declaration of Colin B. Weir (“Weir Rebut. Decl.”) at ¶¶ 8-10, 22-30).) Such an
25   attack is irrelevant with respect to damages, where one must assume liability.
26   III.   CONCLUSION
27          For the reasons stated above and in the Joint Brief, Plaintiff respectfully submits his
28 claims should be certified for class treatment.
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 1   Dated: July 30, 2015                          BARON & BUDD, P.C.

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